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 5
     Attorney for Defendant,
 6   KULWANT LASHER
 7
 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
                                            *****
11
12   UNITED STATES OF AMERICA,                ) Case No.: 07-CR-0264 AWI
13                                            )
                 Plaintiff,                   ) REQUEST TO EXONERATE BOND
14         vs.                                ) WITH ORDER
                                              )
15
     KULWANT LASHER,                          )
16                                            )
                 Defendant.                   )
17                                            )
18
19         Defendant, KULWANT LASHER, by and through his attorney of record, Anthony P.

20   Capozzi, hereby requests that the following property posted as collateral in the above

21   referenced matter be exonerated and the Deeds returned.

22
23
           1.    Naginder Singh Lasher and Resham Kaur, husband and wife as joint tenants
24               Tax parcel #082-370-068-000
25
                 Deed No. 2007-056498 - Docket #45 (filed November 28, 2007)
26
27
28
              Case 1:07-cr-00264-AWI Document 181 Filed 05/16/11 Page 2 of 2


 1         2.      Palwinder Singh, a married man as his sole and separate property
                   Tax parcel #428-103-034
 2
 3                 Deed No. 2007-056486 - Docket #43 (filed November 28, 2007)

 4         3.      Baldev Singh, a married man as his sole and separate property, and
 5                 Baljit Sahota, a married man as his sole and separate property
                   Tax parcel #84-260-025
 6
                   Deed No. 2007-056485 - Docket #44 (filed November 28, 2007)
 7
 8         This request is based upon the fact that the Defendant, KULWANT LASHER,
 9   surrendered to the custody of the Bureau of Prisons in Taft, California, on March 21, 2011.
10                                          Respectfully submitted,
11   Dated: May 10, 2011
12                                                 /s/ Anthony P. Capozzi
13                                          Anthony P. Capozzi,
                                            Attorney for Defendant,
14                                          KULWANT LASHER
15
16
17                                            ORDER
           IT IS HEREBY ORDERED that the property bonds posted in the above entitled matter
18
     be exonerated and returned to the designated parties.
19
     IT IS SO ORDERED.
20
21   Dated:     May 13, 2011
     0m8i78                                         CHIEF UNITED STATES DISTRICT JUDGE
22
23
24
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